JS 44 (Rev. 10/20)

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THUS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

JOHN MAHONEY, on behalf of himself and all others URBAN AIR TRAMPOLINE PARK
similarly sitiiated

(b) County of Residence of First Listed Plaintiff Bucks County

(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
David S. Glanzberg, Esq., Robert M. Tobia, Esq., 123 S.

Broad Street, Ste 1640, Phila, PA 19109, 215-981-5400

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ll. BASIS OF JURISDICTION (Place an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Platatif,
(For Diversity Cases Only) and One Box for Defendant)
OQ | U.S. Government [x]3  Federial Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C11 [] 1. incorporated or Principal Place fl4+ (4
of Business In This State
[-]2 U.S. Government (_]4 Diversity Citizen of Another State (2 [J 2 Incorporated and Principal Place EJ3 ‘Eis
Defendant (indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a C] 3 | 3 Foreign Nation fe 6 fel 6
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT : TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure 422 Appeal 28 USC 158 ~ 375 False Claims Act
120 Marine 310 Airplane [i] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability _}690 Other 28 USC 157 3729%(a))
140 Negotiable Instrument Liability CO 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical : 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
_ 151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent = 450 Commerce
152 Recovery of Defaulted Liability CO 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans = 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
Cc] 153 Recovery of Overpayment Liability PERSONAL PROPERTY |_ in {|_| 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 168] or 1692)
[_] 160 Stockholders’ Suits 4 355 Motor Vehicle 4 371 Truth in Lending Act |] 485 Telephone Consumer
190 Other Contract Product Liability (_] 380 Other Personal |] 720 Labor/Management SOCIAL SECURITY ____| Protection Act
195 Contract Product Liability B 360 Other Personal Property Damage Relations 861 HIA (1395f) ~ 490 Cable/Sat TV
196 Franchise Injury | 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Sccurities/Commodities/
rae 362 Personal Injury - Product Liability 4" Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI a 890 Other Statutory Actions
REAL PROPERTY I RISO P ON 790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: |_|791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act is AL TAX SUITS _ 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S, Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General r | 871 IRS—Third Party — 899 Administrative Procedure
290 All Other Real Property — [__] 445 Amer. w/Disabilitics -[_] 535 Death Penalty |. IMMIGRATION. _| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
«| 446 Amer, w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Onb)
xy! Original 2 Removed from 3. Remanded from C4 Reinstated or oO3 Transferred from [7] 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Title Il! of the Americans with Disabilities Act

Brief description of cause:

 

VI. CAUSE OF ACTION

 

 

 

 

 

VII. REQUESTED IN — [K] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: D]Yes [JNo
VILL. RELATED CASE(S) ‘
(See instructions):
IF ANY ree | eS DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY EGOR
10/14/2021 /s/ David 8. Glanzberg, Esquire as.
FOR OFFICE USE ONLY pen
RECEIPT # AMOUNT APPLYING IEP JUDGE MAG. JUDGE
Case 2:21-cv-04568-JS Document 1 Filed 10/19/21 Page 2 of 22

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF PENNSYLVANIA

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JOHN MAHONEY, on behalf of himself and all Case No.:
others similarly situated,

 

Plaintiffs, v.

CLASS ACTION COMPLAINT
URBAN AIR TRAMPOLINE PARK FOR INJUNCTIVE AND

TIM SHARP
46 BUCK WALTER ROAD DECLARATIVE RELIEF

 

 

 

ROYERSFORD, PA 19468

Defendant.
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INTRODUCTION
lL. Plaintiff JOHN MAHONEY ("Plaintiff’ or "MAHONEY"), on behalf of himself and

others similarly situated, asserts the following claims against Defendant known as
URBAN AIR TRAMPOLINE PARK, (henceforth known as URBAN AIR) as follows.

2. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the
United States are visually impaired, including 2.1 million who are blind, and according to
the American Foundation for the Blind's 2016 report, approximately 300,000 visually
sajjaired persons live in the State of Pennsylvania.

3. "Being unable to access website puts individuals at a great disadvantage in today's society,
which is driven by a dynamic electronic marketplace and unprecedented access to
information." U.S. Dep't of Justice, Statement of Eve L. Hill before the Senate Comm. on
Health, Educ., Labor & Pensions, at 3 (May 14, 2013).

4. Plaintiff is a blind, visuaily-impaired handicapped person and a member of a protected
class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations

implementing the ADA set forth at 28 CFR §$§ 36.101 et seg.

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Case 2:21-cv-04568-JS_ Document 1 Filed 10/19/21 Page 3 of 22
Plaintiff requires screen-reading software to read website content using his computer.

Plaintiff uses the terms "blind" or "visually-impaired" to refer to all people with visual
impairments who meet the legal definition of blindness in that they have a visual acuity
with correction of less than or equal to 20 x 200.

Plaintiff brings this civil rights action against Defendant to enforce Title Ill of the
Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. ("Title Ill"), which requires,
among other things, that an owner and operator of a place of public accommodation (1) not
deny persons with disabilities the benefits of its services, facilities, privileges and
advantages; (2) provide such persons with benefits that are equal to those provided to
nondisabled persons; (3) provide auxiliary aids and services-including electronic services
for use with a computer screen reading program-where necessary to ensure effective
communication with individuals with a visual disability, and to ensure that such persons
are not excluded, denied services, segregated or otherwise treated differently than sighted
individuals; and (4) utilize administrative methods, practices, and policies that provide
persons with disabilities equal access to online content.

Ry ‘ailing to make its Website available in a manner compatible with computer screen
reader programs, URBAN AIR, a private entity (as that term is defined in 42 USCS §
12181(6)) who owns and operates places of public accommodation subject to Title IID),
deprives blind and visually-impaired individuals the benefits of its goods, services,
facilities, privileges, advantages, or accommodations of its places of public
accommodation-all benefits it affords nondisabled individuals- thereby increasing the

sense of isolation and stigma among these Americans that Title ill was meant to redress.

Upon information and belief, because URBAN AIR.'s website

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Case 2:21-cv-04568-JS Document1 Filed 10/19/21 Page 4 of 22
WWW.URBANAIRTRAMPOLINEPARK.COM (the "Website"), which provides

information necessary to access its places of public accommodation, has never been
accessible and because URBAN AIR does not have, and has never had, an adequate
corporate policy that is reasonably calculated to cause its Website to become and
remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent

injunction requiring:

a. that URBAN AIR retain a qualified consultant acceptable to Plaintiff
("Mutually Agreed Upon Consultant") who shall assist it in improving the
accessibility of its Website so the information necessary to access the goods
and services offered at its places of public accommodation may be equally
accessed and enjoyed by individuals with vision related disabilities;

b. that URBAN AIR work with the Mutually Agreed Upon Consultant to ensure
that all employees involved in website development and content development
be given web accessibility training on a periodic basis, including onsite
training to create accessible content at the design and development stages:

c. that URBAN AIR work with the Mutually Agreed Upon Consultant to perform
an automated accessibility audit on a periodic basis to evaluate whether
URBAN AIR's Website, and thereby its place of public accommodation, may
be equally accessed and enjoyed by individuals with vision related disabilities
on an ongoing basis;

d. that URBAN AIR work with the Mutually Agreed Upon Consultant to
perform end-user accessibility/usability testing on a periodic basis with said
testing to be performed by individuals with various disabilities to evaluate
whether URBAN AIR's Website, and thereby its places of public
accommodation, may be equally accessed and enjoyed by individuals with
vision related disabilities on an ongoing basis;

e. that URBAN AIR work with the Mutually Agreed Upon Consultant to create
an accessibility policy that will be posted on its Website, along with an e-mail
address and tollfree phone number to report accessibility-related problems; and

f. that Plaintiff, their counsel and its experts monitor Defendant's Website for up
to two years after the Mutually Agreed Upon Consultant validates it is free of
accessibility errors/violations to ensure URBAN AIR has adopted and
implemented adequate accessibility policies.
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Web-based technologies have features and content that are modified on a daily, and

in sume instances, an hourly, basis, and a one time "fix" to an inaccessible website will not
cause the website to remain accessible without a corresponding change in corporate
policies related to those web-based technologies. To evaluate whether an inaccessible
website has been rendered accessible, and whether corporate policies related to web-based
technologies have been changed in a meaningful manner that will cause the website to
remain accessible, the website must be reviewed on a periodic basis using both automated
accessibility screening tools and end user testing by disabled individuals.
JURISDICTION AND VENUE
This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42
U.S.C. § 12188.
URBAN AIR purposefully targets and otherwise solicits business from Pennsylvania
residents through its Website, and otherwise frequently conducts business with
Pennsylvania residents.
Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the judicial
district in which a substantial part of the acts and omissions giving rise to Plaintiff claims
occurred.
This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and
2202.

PARTIES

Plaintiff, at all relevant times, is and was a resident of Bucks County, Pennsylvania.
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Case 2:21-cv-04568-JS Document 1_ Filed, 10/19/21 Page 6,0f 2 . :
Qefendant is and was at all relevant times a Pennsylvania Corporation doing business in

Pennsylvania, including its location 1150 EASTON RD, WILLOW GROVE PA 19090
and several other locations throughout the state of PA.

Defendant owns and operates several businesses in the State of Pennsylvania (the: "Physical
Locations") that are places of public accommodation within the definition of Title HI of
the ADA, 42 U.S.C. § 12181(7), as the Physical Locations are classified as, without
limitation, an Amusement Park, along with similar services. The services that Defendant

offers at the Physical Locations are unique to the Physical Locations.

NATURE OF ACTION

The Internet has become a significant source of information, a portal, and a tool for
conducting business, doing everyday activities such as shopping, learning, banking,
researching, as well as many other activities for sighted, blind and visually-impaired
persons alike.

In today's tech-savvy world, blind and visually impaired people have the ability to access
website using keyboards in conjunction with screen access software that vocalizes the
visual information found on a computer screen or displays the content on a refreshable
Braille display. This technology is known as screen-rea ding software. Screen-reading
software is currently the only method a blind or visually-impaired person may
independently access the internet. Unless websites are designed to be read by screen-
reading software, blind and visually-impaired persons are unable to fully access the

website, and the information, products, and goods offered thereon.

Blind and visually-impaired users of Windows operating system-enabled computers and

devices have several screen reading software programs available to them. Some of these

programs are available for purchase and other programs are available without the user
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having to purchase the program separately. Job Access With Speech, otherwise known as

"JAWS" is currently the most popular, separately purchased and downloaded screen-
reading software program available for a Windows computer. Another popular screen-
reading software program is NonVisual Desktop Access "NVDA.” Plaintiff uses the
former.

For screen-reading software to function, the information on a website must be capable of
being rendered into text. If the website content is not capable of being rendered into text,
the visually-impaired user is unable to access the same content available to sighted users.
The international website standards organization, the World Wide Web Consortium,
known throughout the world as W3C, has published version 2.1 of the Web Content
Accessibility Guidelines ("WCAG 2.1"). WCAG 2.1 are well-established guidelines for
making website accessible to blind and visually-impaired people. These guidelines are
universally followed by most large business entities and government agencies to ensure
their website are accessible.

Non-compliant website poses common access barriers to blind and visually-impaired
persons. Common barriers encountered by blind and visually impaired persons include, but

are not limited to, the following:

a. A text equivalent for every non-text element is not provided;

b. Title frames with text are not provided for identification and navigation;
c Equivalent text is not provided when using scripts;

d. Forms with the same information and functionality as for sighted

persons are not provided;
é, Information about the meaning and structure of content is not

conveyed by more than the visual presentation of content;

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Case 2:21-cv-04568-JS Document 1 Filed 10/19/21 Page 8 of 22

f Text cannot be resized without assistive technology up to 200%

without losing content or functionality;

g. If the content enforces a time limit, the user is not able to extend,adjust

or disable it:

h. Web pages do not have titles that describe the topic or purpose;

1, The purpose of each link cannot be determined from the link text alone or

from the link text and its programmatically determined link context;

J. One or more keyboard operable user interface lacks a mode of

operation where the keyboard focus indicator is discernible;

k. The default human language of each web page cannot be
programmatically determined;

I. When a component receives focus, it may initiate a change in

context;

in, Changing the setting of a user interface component may

automatically cause a change of context where the user has not been advised beforeusing
the component;

n. Labels or instructions are not provided when content requires user

input, which include captcha prompts that require the user to verify that be or sheis not
a robot;

oO. In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according to
their specifications, elements may contain duplicate attributes, and/or any IDs are not
unique;

p. Inaccessible Portable Document Format (PDFs); and,
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: The name and role of all User Interface elements cannot be
Case 2:21-cv-04568-JS Document 1 Filed 10/19/21 Page 9 of 22
programmatically determined; items that can be set by the user cannot be

programmatically set; and/or notification of changes to these items is not available to

user agents, including assistive technology.

STATEMENT OF FACTS

Defendant is an Amusement Park that owns and operates physical locations offering
Amusement Service and related services, including the Physical Locations. Defendant
also owns and operates the Website.

Defendant uses the Physical Locations to offer numerous services to the public, including,
witiout limitation, Amusement Services and related services,

Defendant 's Website offers information to consumers throughout the United States,
including Pennsylvania. Such information (the "Information") includes, without limitation,
information necessary to access and visit the Physical Locations, such as, without
limitation, the phone number to the Physical Location, directions to and operating hours of
the Physical Location, and information regarding the various offerings of and events
scheduled to be held at the Physical Locations.

Plaintiff is a visually-impaired and legally blind person, who cannot use a computer
without the assistance of screen-reading software. Plaintiff is, however, a proficient JAWS
and/or NVDA screen-reader user and uses it to access the Internet.

Plaintiff has attempted to use Defendant's Website at least once in the past in order to
access the Information and services presented thereon in order to access and visit the
Physical Locations. Unfortunately, because of URBAN AIR’s failure to buildits Website in
a manner that is compatible with screen reader programs, Plaintiff is unable to

understand, and thus is denied the benefit of, much of the content and services he

wishesto access or use. For example:
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code embedded beneath a graphical image. As a result, Plaintiff was
unable to differentiate what products were on the screen due to the
failure of the Websiteto adequately describe its content.

b. Many features on the Website also fail to Add a label element or title
attribute for each field. This is a problem for the visually impaired
because the screen reader fails to communicate the purpose of the page
element. It also leads to theuser not being able to understand what he
or she is expected to insert into the subject field.

c. The Website also contains a host of broken links, which is a hyperlink
to a non-existent or empty webpage. For the visually impaired this is
especially paralyzing due to the inability to navigate or otherwise
determine where one is on the website once a broken link is
encountered.

28. As result of visiting URBAN AIR‘s Website and from investigations
performed on his behalf, Plaintiff is aware the Website includes at least the
following additional barriers blocking his full and equal use:

a. The Website does not provide a text equivalent for every non-text element;

b. The purpose of each link cannot be determined from the link text
alone or fromthe link text and its programmatically determined link
context;

c. Web pages lack titles that describe their topic or purpose:

d. Headings and labels do not describe topic or purpose:
Keyboard user interfaces lack a mode of operation where the keyboard focus

indicator is visible;
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determined;

g. The human language of each passage or phrase in the content cannot be
programmatically determined;

h. Labels or instructions are notalways provided when content requires user input;

i. Text cannot be resized up to 200 percent without assistive technology so that it
may still be viewed without loss of content or functionality;

J. A mechanism is not always available to bypass blocks of content that are

repeated on multiple web pages:

k. A correct reading sequence is not provided on pages where the sequence in

which content is presented affects its meaning;

|, In content implemented using markup languages, elements do not always have
complete start and end tags, are not nested according to their specifications,
may contain duplicate attributes, and [Ds are not always unique; and

m. The name and role of all UI elements cannot be programmatically determined;
things that can be set by the user cannot be programmatically set; and/or
notification of changes to these items is not available to user agents, including

assistive technology.

These barriers, and others, deny Plaintiff full and equal access to the Information and
content the Website offers related to the Physical Locations, and now deter him from
attempting to use the Website and/or visit the Physical Locations. Still, Plaintiff would
liketo, and intends to, access the Website to gather the Information and access the content and
services presented thereon in order to visit one or both of the Physical Locations as soon as

the Website is made accessible to the visually impaired, or to test the Website for compliance

with the ADA,

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accessing the services that Defendant offers to the public by way of the Physical Locations.
Plaintiff intends to do so, and to visit the one or both of the Physical Locations to take
advantage of the services and products offered there, as soon as the Website is made
accessible to the visually impaired.

Due to Defendant's failure and refusal to remove access barriers to its Website, Plaintiff
and visually-impaired persons have been and are still being denied equal access to
Deteudant's Website and the Physical Locations, and the numerous goods and services and
benefits offered to the public through the Physical Locations.

If the Website were accessible, i.e. if URBAN AIR removed the access barriers described
above, Plaintiff could independently research the Website's Information, content and
services presented thereon related to the Physical Locations.

Through his attempts to use the Website, Plaintiff has actual knowledge of the access
barriers that make the Information, content and services presented thereon inaccessible and
indeyendently unusable by blind and visually-impaired people.

Though URBAN AIR may have centralized policies regarding the maintenance and
operation of its Website, upon and information and belief, URBAN AIR has never had a
plan or policy that is reasonably calculated to make its Website fully accessible to, and
independently usable by, individuals with vision related disabilities. As a result, the

complained of access barriers are permanent in nature and likely to persist.

The Law requires that URBAN AIR reasonably accommodate Plaintiff's disabilities by
removing these existing access barriers. Removal of the barriers identified above is readily
achievable and may be earned out without much difficulty or expense.

Plaintiff's above request for injunctive relief is consistent with the work performed by the

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and Transportation Barriers Compliance Board (the "Access Board"), all of whom have
relied upon or mandated that the public-facing pages of website complies with the
international compliance standard known as Web Content Accessibility Guidelines version
2.1 AA ("WCAG 2.1 AA"), which is published by an independent third party known as
the Worldwide Web Consortium ("W3C").

Plaintiff and the Class (as defined below) have been, and in the absence of an injunction
will continue to be, injured by URBAN AIR's failure to provide its online content and
services related to its places of public accommodation in a manner that is compatible with
screen reader technology.

URBAN AIR has long known that screen reader technology is necessary for individuals
with visual disabilities to access its online content and services, and that it is legally
responsible for providing the same in a manner that is compatible with these auxiliary
aids.

Indeed, the Disability Rights Section of the DOJ reaffirmed in a 2015 Statement of Interest
before the United States District Court for the District of Massachusetts that it has been a
"longstanding position" of the Department of Justice "that the ADA applies to website of
public accommodations." See National Association of the Deaf. Massachusetts Institute
of Technology, No. 3:15-cv-300024-MGM, DOJ Statement of Interest in Opp. To

Motion to Dismiss or Stay, Doc. 34, p. 4 (D. Mass. Jun. 25, 2015) ("MIT
Statement of Interest"); see also National Association of the Deaf v. Harvard
University, No. 3: | 5-cv -30023 - MGM, DOJ Statement of Interest of the United

States of America, Doc. 33, p.4 (D. Mass, Jun. 25, 2015) ("Harvard Statement of

Interest").

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action. Inrelevant part, the ADA requires:

In the case of violations of ... this title, injunctive relief shall include an order
to alter facilities to make such facilities readily accessible to and usable by
individuals with disabilities ... Where appropriate, injunctive relief shall also
include requiring the . . . modification of a policy . . .42 U.S.C. § 12188 (a)(2).

There is no DOJ administrative proceeding that could provide Plaintiff with Title I]

injunctive relief.

While DOJ has rulemaking authority and can bring enforcement actions in court;
Congresshas not authorized it to provide an adjudicative administrative process to
provide Plaintiff with relief.

Plaintiff alleges violations of existing and longstanding statutory and regulatory
requirements to provide auxiliary aids or services necessary to ensure effective
communication, and courts routinely decide these types of matters.

Resolution of Plaintiffs claims does not require the Court to unravel intricate,
technical facts, but rather involves consideration of facts within the conventional
commetence of the courts, e.g. (a) whether URBAN AIR offers content
necessary to access it and services on its’ Website and places of public
accommodation, and (b) whether Plaintiffcan access such content and services.
Without injunctive relief, Plaintiff and other visually-impaired consumers will
continue to be unable to independently use the Website and the content and

services presented thereon necessary to access its places of public

accommodation, violating their rights.

CLASS ACTION ALLEGATIONS

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nationwideclass (the "Class") under Fed. R. Civ. P. 23(a) and 23(b)(2) consisting
of all legally blind individuals in the United States who have attempted to access
Defendant's Website and as a result have been denied access to the equal
enjoyment of the goods and services offered at its places of public
accommodation, during the relevant statutory period.
Common questions of law and fact exist amongst the Class, including:
a. Whether the Physical Locations are a _ "public
accommodation" under the ADA;
b. Whether, by providing content and services related to the Physical
Locations including, without limitation, the Information, Defendant's
Website bears a sufficient "nexus" to ihe Physical Locations;
Whether, through Defendant's Website, Defendant denies the full and
equal enjoyment of its products, services, facilities, privileges,
advantages, or accommodations to people with visual disabilities,
violating the ADA.
Plaintiff's claims are typical of the Class. The Class, like Plaintiff, are visually
impaired orotherwise blind, and claim that Defendant has violated the ADA by
failing to remove access barriers on its Website so as to be independently

accessible to the Class.

Plaincdff will fairly and adequately represent and protect the interests of the members of the
Ciass (the "Class Members") because Plaintiff has retained and is represented by counsel
competent and experienced in complex class action litigation, and because Plaintiff has no

interests antagonistic to the Class Members.

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Defendant has acted or refused to act on grounds generally applicable to the Class,
making appropriate both declaratory and injunctive relief with respect to the Class as a
whole.

Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact
and legal questions common to Class Members predominate over questions affecting only
individual Class Members and because a class action is superior to other available
methodsfor the fair and leben adjudication of this litigation.

Judicial economy will be served by maintaining this lawsuit as a class action in that it is
likely to avoid the burden that would be otherwise placed upon the judicial system by

the filing of numerous | ihe suits throughout the United States,

FIRST CAUSE OF ACTION
VIOLATIONS OF THE ADA, 42 U.S.C, § 12181 et seq.

Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

 

alleg-tion of the preceding rt as if fully set forth herein.
.
Section 302(a) of Title IIT o the ADA, 42 U.S.C. § 12101 et seq., provides:
No individual shall be discriminated against on the basis of disability in the full and
equal enjoyment of the goods, services, facilities, privileges, advantages. or

accommodations ofany place of public accommodation by any person who owns, leases
(or leases to), or operates a place of public accommodation. 42 U.S.C. § 12182(a).

The Physical Locations, owned and operated by Defendant, are public accommodations

within the definition of Title III of the ADA, 42 U.S.C. § 12181(7..

The Website bears a direct nexus to the Physical Location, as it offers content, services
aud information (including, without limitation, the Information) to the general public
necessaryto access the Physical Locations, and as such, must be equally accessible to all
potential consumers.

By failing to make the Website equally accessible to all potential consumers (including
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ni ta from availing himself of the goods and services that Defendant offers at the
Physical Location.

Had Plaintiff been able to access the content, services and information (including, without
limitation, the Information) offered on the Website, Plaintiff would have availed himself
of the goods and services that Defendant offers at the Physical Location.

Under Section 302(b)(1) of Title III of the ADA, it is ynlawful discrimination to deny
individuals with disabilities the opportunity to participatd in or benefit from the products,
services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §
12182(b)(1)(A)(i).
Under Section 302(b)(1) of Title ill of the ADA, it is Unlawful discrimination to deny

individuals with disabilities an opportunity to participatd in or benefit from the products,

 

services, facilities, el advantages, or wid mi which is equal to the
]

opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

Under Section 302(b)(2) of Title ill of the ADA, unlawful discrimination also
inciudes, among other things:

[A; failure to make reasonable modifications in policies, practices, or procedures, when
such modifications are necessary to afford such goods, services, facilities, privileges,
advantages, or accommodations to individuals with disabilities, unless the entity can
demonstrate that making such modifications would fundamentally alter the nature of such
goods, services, facilities, privileges, advaniages or accommodations; and a failure to take
such steps as may be necessary to ensure that no individual with a disability is excluded,
denied services, segregated or otherwise treated differently than other individuals because
of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
such steps would fundamentally alter the nature of the good, service, facility. privilege,
aventage, or accommodation being offered or would result in an undue burden. 42
U.S.C. § 12182(b)(2)(A)(ii)-(iii.)

The acts alleged herein constitute violations of Title ID of the ADA, and the
regulations promulgated thereunder. Plaintiff, who is a member of a protected class

of persons under the ADA, has a physical disability that substantially limits the major

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Furthermore, Plaintiff has been denied full and equal access to the Website and
Defendant's places of public accommodation, has not been provided services that are
provided to other patrons who are not disabled, and has not been provided any
reasonable accommodation to those services. Defendant has failed to take any prompt
and equitable steps to remedy its discriminatory conduct. These violations are
onge ng. |

Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

incorporated therein, Plaintiff, requests relief as set forth below.

SECOND CAUSE OF
ACTION
DECLARATORY RELIEF
Plaintiff, on behalf of himself and the Class Members, repeats and realleges every
allegation of the preceding paragraphs as if fully set forth herein.
Ar actual controversy has arisen and now exists between the parties in that Plaintiff
contends, and is informed and believes that Defendant denies, that its Website
cortains access barriers denying blind customers the full and equal access to the
products, services and facilities of its places of public accommodation, which
Defendant owns, operations and controls, and therefore fails to comply with

applicable laws including, but not limited to, Title HI of the Americans with

Disabilities Act, 42 U.S.C. § 12182, et seg. prohibitingdiscrimination against the blind.

“, judicial declaration is necessary and appropriate at this time in order that each of the

parties may know their respective rights and duties and act accordingly.

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~ Case 2:21-cv-04568-JS Document1 Filed 10/19/21 Page 19 of 22
PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

A Declaratory Judgment that at the commencement of this action URBAN AIR was in
violation of the specific requirements of Title ill of the ADA described above, and the
relevant implementing regulations of the ADA, in that URBAN AIR took no action that
was reasonably calculated to ensure that its Website is fully accessible to, and
independently usable by, individuals with visual disabilities;

A. permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504(a) which
directs Defendant to take all steps necessary to bring its Website into full compliance with the
requirements related to and set forth in the ADA, and its implementing regulations. so that its
Website and its places of public accommodation is fully accessible to, and independently
usable by, blind individuals. and which further directs that the Court shall retain
jurisdiction for a period to be determined to ensure that Defendant bas adopted and is
following an institutional policy that will in fact cause it to remain fully in compliance
sith the law- the specific injunctive relief requested by Plaintiff is described more fully in
paragraph 8 above;

An award of costs and expenses of this action;

Payment of reasonable attorneys' fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §
36.505, including costs of monitoring Defendant's compliance with the judgment (see
Hadix v. Johnson, 143 F.3d 246 (6th Cir. 1998), affd in part, rev'd in part, 527 U.S. 343
( 1999); Jenkins v, Missouri, 127 F.3d 709 (8th Cir. 1997); Walker v. US. Dep't of Hous.
& ‘Urban Dev., 99 F.3d 761 (5th Cir. 1996); Stewart v. Gates, 987 F.2d 1450, 1452 (9th
Cir. 1993) (district court should permit compensation for the post judgment monitoring

efforts by the plaintiff's counsel that are "useful and necessary to ensure compliance with

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the YouRes supra anHe” Hewuiohta F Pet Alesse Bags 26 a asa" ”
Mathis, 752 F.2d 553 (11th Cir. 1985); Willie M. v. Hunt, 732 F.2d 383, 385, 387 (4th Cir.

1984); Bond v, Stanton, 630 F.2d 1231, 1233-34 (7th Cir. 1980); Northcross 1. Board of
Educ., 611 F.2d 624, 637 (6th Cir. 1979) ("Services devoted to reasonable monitoring of
the court's decrees, both to ensure full compliance and to ensure that the plan 1s indeed
working.. .are essential to the long-term success of the plaintiffs suit.") (citing 34 Circuit's

sypport for District Court's award of prospective fees to plaintiffs counsel);

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71. An order certifying the Class under Fed. R. Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing
Pla:ntiff as Class Representative, and his attorneys as Class C ounsel; and

72: Such other and further relief as this Court deems just and proper.

By: David S. Glanzberg

David S. Glanzberg, Esq.
david.glanzberg@gtlawpc.com

123 South Broad Street, Suite 1640
Philadelphia, PA 19109

Tel: (215) 981-5400

Fax: (267) 319-1993

ATTORNEYS FOR PLAINTIFF

Dated: 10/13/2021

Philadelphia, Pennsylvania

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UNITED STATES DISTRICT COURT
Case 2:21-cv-048 ¢8anEisBooumamidr GiladkhtOYL9AAs Page 21 of 22

DESIGNATION FORM

(ta be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

7203 Centennial Station, Warminster, PA 18974
70 BUCKWALTER ROAD, ROYERSFORD, PA 19468

Address of Plaintiff:

Address of Defendant:

 

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes No
previously terminated action in this court?

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No
pending or within one year previously terminated action in this court?

 

 

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No |¢/
numbered case pending or within one year previously terminated action of this court?

 

 

 

 

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No |
case filed by the same individual?

 

 

 

 

 

  

I certify that, to my knowledge, the within case [7] is Xi to any cas&\now pending or within one year previously terminated action in
this court except as noted above.

pare, 10/14/2021
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a V in one category only)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
LJ] 1. Indemnity Contract, Marine Contract, and All Other Contracts [J 1. Insurance Contract and Other Contracts
L] 2. FELA [J] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
CL] 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent [] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
C) 7. Civil Rights LJ 7. Products Liability
(J 8. Habeas Corpus [J 8&8. Products Liability — Asbestos
4 9, Securities Act(s) Cases [] 9. All other Diversity Cases
10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): Americans with Disabilities Act (446)

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

L David S. Glanzberg

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case

exceed the sum of $150,000.00 exclusive of interest and costs:
iN \ 50820

lv Relief other than monetary damages is sought.
S a . ?
J 7,
Attorney-at-Law / Pro Se eS Attorney 1D. # (if applicable)

 

 

  
 

pare, 10/14/2021

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)
4 (Case 2:21-cv-04568-JS Document1_ Filed 10/19/21 Page 22 of 22
aé IN THE UNITED STATES DISTRICT COUR

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CASE MANAGEMENT TRACK DESIGNATION FORM

JOHN MAHONEY, on behalf of himself and — : CIVIL ACTION
all others similarly situated : 7
V.

URBAN AIR TRAMPOLINE PARK . : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form i ae the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos, s ( )

(e) Spetial Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (X)
10/13/2021 ANE, ZBERG, ; _JOQHN MAHONEY
Date Attorney-at-law
AIS -F§1- 5400 A071 - 319-1993 dyvid. 6 lanz ben ea
Telephone FAX Number

(Civ. 660) 10/02
